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       1                          UNITED STATES BANKRUPTCY COURT              OCT 08 2019
       2                              EASTERN DISTRICT OF CALIFORNIA IUP4rTEDSTA
                                                                          LPc
       3   In re:                                     ) Case No. 17-25335-B-7          --
                                                                                        -




       4   RAJPAL SINGH CHATHA and                    ) Adversary No. 18-2102
           TARANJIT KAIJR CHATHA,
       5                                                  DC Nos. CDH-3
                                        Debtor(s). )              GJH-3
       6
       7   DOUGLAS WHATLEY, Chapter 7
           Trustee,
       8
                    Plaintiff   (5)
       9   V.

      10   SIMRANJIT CHATHA; THRIVE
           MANAGEMENT LLC,
      11
                    Defendant(s)
      12
      13
      14    CONSOLIDATED MEMORANDUM DECISION GRANTING IN PART AND DENYING IN
                  PART PLAINTIFF'S MOTIONS FOR PARTIAL SUMMARY JUDGMENT
      15
      16
           INTRODUCTION
      17
                 The court has before it two motions for partial summary
      18
           judgment filed by plaintiff Douglas Whatley in his capacity as
      19
           the trustee appointed in the parent Chapter 7 case filed by
      20
           debtors Rajpal Singh Chatha ("Rajpal") and Taranjit Kaur Chatha
      21
           ("Taranjit") (collectively, "Debtors"), Case No. 17-25335.' The
      22
           first motion is Plaintiff's Motion for Partial Summary Judgment
      23
           which concerns a La Quinta Inn & Suites in Mansfield, Texas
      24
            ("Hotel") . Docket 99. The second motion is Plaintiff's Second
      25
      26        'Debtors Rajpal Chatha and Taranjit Chatha, and defendant
      27   Simranjit Chatha ("Simranjit"), all share the same last name.
           The court will use the individuals' first names for clarity. No
      28   disrespect is intended.

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       1 Motion for Partial Summary Judgment which concerns real property
       2 located at 513 3 Street, Marysville, California ("Marysville
       3 Property"). Docket 107. The motions assert that the transfer of
       4 the Debtors' ownership interests in the Hotel and the Marysville
       5 Property from the Debtors to their son Simranjit and/or his
       6 entities are intentional or constructive fraudulent transfers.
       7         Defendants Simranjit and Thrive Management, LLC ("Thrive".)
       8 filed oppositions to both motions. 2 Dockets 118 (Hotel), 124
       9 (Marysville Property). Defendants deny that the transfer of the
      10 Debtors' ownership interests in Hotel and Marysville Property are
      11 fraudulent transfers. Defendants assert that plaintiff lacks a
      12   I basis to recover the Hotel and the Marysville Property, and that
      13 allowing plaintiff to recover both properties is excessive and
      14 overreaching. Defendants also assert that any action to avoid
      15 the transfer of the Marysville Property is barred by the
      16 applicable statute of limitations.
      17         Plaintiff replied to defendants' oppositions. Dockets 131
      18 (Hotel), 137 (Marysville Property) . With the replies, plaintiff
      19 also submitted objections to certain evidentiary materials that
      20 defendants submitted with their oppositions. Dockets 133
      21 (Hotel), 138 (Marysville Property). With regard to the Hotel
      22 motion, plaintiff also objected to defendants submission of their
      23 own statement of undisputed facts in response to plaintiff's
      24 statement of undisputed facts. Docket 132 at 23:19-30:11.
      25         The court has reviewed the motions, oppositions, replies,
      26
      27
               2 No opposition appears to have been filed by defendant

      28 Summerfest Hospitality, LLC ("Summerfest")
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       1 and all related evidentiary exhibits. To the extent not subject
       2 to a sustained objection, the court takes judicial notice of the
       3 docket in this adversary proceeding and in the parent Chapter 7
       4 case. See Fed. R. Evid. 201.
       5         As to the Hotel motion, there is a genuine issue of material
       6 fact that precludes partial summary judgment for plaintiff. The
       7 court alternatively concludes that plaintiff is not entitled to
       8 judgment as a matter of law. The motion for partial summary
       9 judgment that concerns the Hotel will therefore be denied.
      10         As to the Marysville Property motion, there are no genuine
      11 I issues of material fact that preclude partial summary judgment
      12 I for plaintiff. Therefore, to the extent it concerns the
      13 I intentional fraudulent transfer of the Marysville Property, the
      14 second motion for partial summary judgment which concerns the
      15 Marysville Property will be granted. The transfer of the
      16 Debtors' ownership interest in the Marysville Property from the
      17 Debtors to Simranjit will be avoided, Simranjit will be divested
      18 of the ownership interest in the Marysville Property, and the
      19 Marysv±lle Property ownership interest (and thence the Marysville
      20 Property) will be recovered by and vested in the plaintiff for
      21 the benefit of the Debtors' bankruptcy estate. And to the extent
      22 they concern the Marysville Property, judgment on the Fourth,
      23 Sixth, and Seventh Claims for Relief in the amended complaint
      24 will be entered for plaintiff and against defendants.
      25
      26   JURISDICTION AND VENUE
      27         This adversary proceeding arises from and relates to the
      28 Debtors' Chapter 7 case which is filed and pending in the Eastern

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       1   District of California. Venue is proper under 28 U.S.C. § 1409.
       2         Federal subject matter jurisdiction is founded on 28 U.S.C.
       3   § 1334. This adversary proceeding involves core claims under 28
       4   U.S.C. §§ 157(b) (2) (A), (H), and (0) as well as non-core claims
       5   under California state law. The parties have consented to entry
       6   of a final judgment by a bankruptcy judge. 3   See 28 U.S.C. §
       7   157(c) (2).
       8
       9   PROCEDURAL BACKGROUND

      10         The complaint that initiated this adversary proceeding was
      11   filed on June 22, 2018. Docket 1. The original complaint named
      12   Simranjit and Thrive as defendants. Id. Defendants were served
      13   on June 22, 2018. Docket 6. Defendants answered the original
      14   complaint on August 1, 2018. Docket 7.
      15         Plaintiff filed two initial motions for partial summary
      16   judgment. Both motions sought the same relief requested in the
      17   motions presently before the court. The initial Hotel motion was
      18   filed on May 13, 2019. Docket 26. The initial Marysville
      19
      20        3 The Joint Status Conference Statement and Discovery Plan


      21   filed August 15, 2018, states as follows:
                This Court has subject matter jurisdiction over this
      22        action pursuant to 28 U.S.C. § 1334(b) in that the
                action arises under, arises in and/or relates to [the
      23        Debtors'] bankruptcy. This action is a core proceeding
      24        pursuant to 28 U.S.C. § 157(b) (2) . Specifically, the
                action includes claims to avoid and recover alleged
      25        fraudulent transfers under 11 U.S.C. § 548 and 550.
                The Trustee consents to entry of a final judgment by
      26        this Court and also believes that the Court has full
      27        authority to enter a final judgment. Defendants consent
                to entry of a final judgment by this Court.
      28   Docket 9 at 2:8-15.

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       1 Property motion was filed on June 4, 2019. Docket 53.
       2         Meanwhile, on June 4, 2019, plaintiff filed a motion for
       3 leave to file a first amended complaint which added new claims
       4 and added Summerfest as a new defendant. Docket 48. Based on a
       5 stipulation and order dated June 6, 2019, docket 60, a first
       6 amended complaint was filed on June 10, 2019. Docket 61.
       7 Summonses were reissued on June 10, 2019, docket 63, and the
       8 reissued summonses together with the first amended complaint were
       9 served on all defendants on June 11, 2019. Docket 74. Simranjit
      10 and Thrive answered the first amended complaint on June 27, 2019.
      11 Docket 85. Summerfest answered the first amended complaint on
      12 I June 28, 2019. Docket 89.
      13         Because the initial motions f or partial summary judgment
      14 were based on the original complaint, on June 19, 2019, both
      15 motions were denied without prejudice and with leave to re-file
      16 to the extent based on the first amended complaint. Dockets 53,
      17 82. On July 16, 2019, plaintiff re-filed the motions now before
      18 the court. Dockets 99, 107. Defendants filed oppositions on
      19 August 13, 2019. Dockets 118, 124. Plaintiff filed replies on
      20 August 20, 2019. Dockets 131, 137. Both motions were heard on
      21 September 3, 2019. Appearances were noted on the record.
      22
      23   EVIDENTIARY OBJECTIONS
      24         During the hearing held on September 3, 2019, the court
      25 heard and sustained plaintiff's objections to evidence that
      26 defendants submitted in support of their oppositions to the two
      27 motions for partial summary judgment. The court stated tentative
      28 decisions regarding those objections on the record. The court

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       1 now supplements its oral rulings. 4
       2         Plaintiff's objection at Docket 132 relates to a separate
       3 statement of "Additional Undisputed Facts" that defendants, as
       4 the nonmoving parties, unilaterally and without leave filed with
       5 their opposition to the Hotel motion. See Docket 122 at 26:14-
       6 28:13 (Additional Undisputed Facts Nos. 104-114) . The court
       7 noted, and defendants' attorney conceded, that although Local
       8 Bankruptcy Rule 7056-1 permits the nonmoving party to file a
       9 separate statement of disputed facts nothing in Federal Rule of
      10 Civil Procedure ("Civil Rule") 56, Federal Rule of Bankruptcy
      11 Procedure ("Bankruptcy Rule") 7056, or Local Bankruptcy Rule
      12 7056-1 authorizes or permits the nonmoving party to file its own
      13 separate statement of undisputed facts. Based on the concession
      14 by defendants' attorney, the court sustained plaintiff's
      15 objection and ordered defendants' statement of "Additional
      16 Undisputed Facts" stricken as unauthorized and procedurally
      17 improper. See United States v. Center for Employment Training,
      18 2019 WL 424189,    *4 (E.D. Cal. 2019) (striking nonmoving party's

      19 statement of undisputed facts as procedurally improper and
      20 unauthorized under nearly identical local district court rule and
      21 noting that it is within the court's discretion to consider some
      22 facts but not as undisputed); see also Operating Engineers Health
      23 & Welfare Trust Fund v. The Mega Life & Health Ins. Co., 2003 WL
      24 22416395, *8 (N.D. Cal. 2003) (noting additional separate
      25
      26       4 To the extent there is any   conflict between the court's
      27 oral ruling placed on the record     in open court and this written
          decision, this written decision     controls. Playmakers, LLC v.
      28 ESPN, Inc., 376 F.3d 894, 896-97     (9th Cir. 2004)
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       1 statement of undisputed facts not permitted under local rule and
       2 striking same). The court ratifies its prior ruling but notes
       3 that it retains discretion to consider the additional facts not
       4 as undisputed but as may be appropriate to the resolution of
       5 either motion.
       6            Plaintiff's objection at Docket 133 relates to evidence
       7 defendants submitted with their opposition to the Hotel motion.
       8 More precisely, plaintiff objected to defendants' use of
               bankruptcy schedules filed in the 2014 Chapter 11 case, discussed
      10   I   infra, that Brightside Hospitality, LLC ("Brightside") filed In
      11 the Northern District of Texas as Case No. 14-34409. Defendants
      12 submitted those schedules to establish the Hotel's value in 2014-
      13 2015. Plaintiff objected to the schedules on the basis they are
      14 hearsay in that they are an out of court statement offered to
      15 prove the truth of the matter asserted,         i.e., the Hotel's value
      16 at the time of Brightside's Chapter 11 bankruptcy filing.
      17            During the September 3, 2019, hearing defendants' attorney
      18 acknowledged that Rajpal prepared Brightside's bankruptcy
      19 schedules. Defendants' attorney also conceded that defendants
      20 relied on the bankruptcy schedules for the truth of the matter
      21 asserted therein,       i.e., the Hotel's value. Based on those
      22 concessions, the court sustained plaintiff's objection on the
      23 basis the bankruptcy schedules are hearsay. The court ratifies
      24 its ruling. However, the court clarifies that it sustains
      25 plaintiff's objection as to the form of the evidence submitted.
      26            Plaintiff's objection at Docket 138 concerns evidence that
      27 defendants submitted in response to the Marysville Property
      28 motion. On the basis it is impermissible lay opinion testimony,

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       1 plaintiff objected to Rajpal's declaration statement that he is
       2 "of the opinion that in 2014, 513 B Street, Marysville,
       3 California was worth $150,000.00." Docket 138 at 2:3-4. The
       4 court sustained plaintiff's objection because although it is true
       5 that under Federal Rule of Evidence ("Evidence Rule") 701 an
       6 owner of property may testify as a lay witness as to the
       7 property's value, Enewally v. Wash. Mut. Bank (In re Enewally),
       8 368 F.3d 1165, 1173 (9th Cir. 2004), defendants' attorney
       9 acknowledged that Rajpal did not own the Marysville Property in
      10 2014. The court ratifies its earlier ruling.
      11         Plaintiff's objection at Docket 138 also concerns tax
      12 returns at Exhibits U, V, and W. Plaintiff objected to the tax
      13 returns on the basis they are not authenticated. Defendants'
      14 attorney acknowledged that the tax returns are not authenticated
      15 and, again, the court sustained plaintiff's objection on that
      16 basis. Evidence Rule 901(a) requires "authentication or
      17 identification as a condition precedent to admissibility." A
      18 foundation must be laid by evidence sufficient to support a
      19 finding that the matter in question is what its proponent claims
      20 before evidence may be admitted. Fed. R. Evid. 901(a)
      21 Unauthenticated documents cannot be considered on a motion for
      22 summary judgment. Las Vegas Sands, LLC v. Nehme, 632 F.3d 526,
      23 532-33 (9th Cir. 2011) (citing Orr v. Bank of America, NT & SA,
      24 285 F.3d 764, 773 (9th Cir. 2002)) (quotation marks omitted)
      25 Indeed, "the [Ninth Circuit] Court of Appeals has repeatedly held
      26 that documents which have not had a proper foundation laid to
      27 authenticate them cannot support [or defend against] a motion for
      28 summary judgment." Eurch v. Regents of University of California,
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       1 433 F.Supp.2d 1110, 1120 (E.D. Cal. 2006) (citations and internal
       2 quotations omitted). Lack of proper authentication is therefore
       3 an appropriate objection and so the court ratifies its earlier
       4 ruling.
       5
       6 LEGAL STANDARD
       7         Civil Rule 56 permits the court to grant summary judgment if
       8 the moving party shows there is no genuine dispute as to any
       9 material fact and the moving party is entitled to judgment as a
      10 matter of law. Fed. R. Civ. P. 56(a); Fed. R. Bankr. P. 7056;
      11 Local Bankr. R. 7056-1. "A motion for partial summary judgment
      12 is resolved under the same standard as a motion for summary
      13 judgment." Barnes v. County of Placer, 654 F. Supp. 2d 1066,
      14 1070 (E.D. Cal. 2009) (citing California v. Campbell, 138 F.3d
      15 772, 780 (9th Cir. 1998)
      16         A motion for summary judgment calls for a "threshold
      17 inquiry" into whether a trial is necessary, that is, whether
      18 there are "any genuine factual issues that properly can be
      19 resolved only by a finder of fact because they may reasonably be
      20 resolved in favor of either party." Anderson v. Liberty Lobby,
      21 Inc., 477 U.S. 242, 250 (1986). The court does not weigh
      22 evidence or assess credibility; rather, it determines which facts
      23 are not disputed then draws all inferences and views all evidence
      24 in the light most favorable to the nonmoving party. See Id. at
      25 255; Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.
      26 574, 587-88 (1986) . "Where the record taken as a whole could not
      27 lead a rational trier of fact to find for the non-moving party,
      28 there is no 'genuine issue for trial.'" Matsushita, 475 U.S. at
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       1 587. An issue is genuine if there is enough evidence for a trier
       2 of fact to make a finding in favor of the nonmoving party, and an
       3 issue is material if it might legally affect the outcome of the
       4 case. Far Out Prods., Inc. v. Oskar, 247 F.3d 986, 992 (9th Cir.
       5 2001) (citing Anderson, 477 U.S. at 248-49)
       6         When the party moving for summary judgment would bear
                 the burden of proof at trial, it must come forward with
       7         evidence which would entitle it to a directed verdict
                 if the evidence went uncontroverted at trial. In such
       8         a case, the moving party has the initial burden of
                 establishing the absence of a genuine issue of fact on
       9         each issue material to its case. Once the moving party
                 comes forward with sufficient evidence, the burden then
      10         moves to the opposing party, who must present
                 significant probative evidence tending to support its
      11         claim or defense. A motion for summary judgment may
                 not be defeated, however, by evidence that is merely
      12         colorable or is not significantly probative.
      13 C.A.R. Transp. Brokerage Co. v. Darden Restaurants, Inc., 213
      14 F.3d 474, 480 (9th Cir. 2000) (citations, internal quotations
      15 I omitted)
      16
      17 I DISCUSSION
      18         The court now reaches the motions for partial summary
      19 judgment. Both motions seek judgments avoiding, either as
      20 intentional or constructive fraudulent transfers, transfers of
      21 the Debtors' ownership interests in the Hotel and the Marysville
      22 Property from the Debtors to Simranjit and/or Simranj it's
      23 entities. Both motions are brought under 11 U.S.C. § 544(b) and
      24 California's version of the Uniform Fraudulent Transfer Act
      25 ("UFTA") at California Civil Code § 3439.01 et seq. Section
      26 544(b) permits a Chapter 7 trustee to exercise the avoiding
      27
      28

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           powers conferred upon creditors under state law. 5 Ezra v. Soror
       2   (In re Ezra) , 537 B.R. 924, 930 (9th Cir. BAP 2015) (California
       3   UFTA) (citing Wolkowitz v. Beverly (In re Beverly), 374 B.R. 221,
       4   232 (9th Cir. BAP 2007),   aff'd in part and adopted, 551 F.3d 1092

       5   (9th Cir. 2008)); see also Decker v. Tramiel (In re JTS Corp.),
       6   617 F.3d 1102, 1111 (9th Cir. 2010)
       7         The Hotel fraudulent transfer claims are alleged in the
       8   First Claim for Relief (intentional fraudulent transfer) and the
       9   Second Claim for Relief (constructive fraudulent transfer) of the
      10   first amended complaint. The Marysville Property fraudulent
      11   transfer claims are alleged in the Fourth Claim for Relief
      12   (intentional fraudulent transfer) and the Fifth Claim for Relief
      13   (constructive fraudulent transfer) of the first amended
      14   complaint. To the extent any or all of the foregoing transfers
      15   are avoided, the Seventh Claim for Relief in the first amended
      16   complaint seeks judgment under § 550(a) recovering the
      17   transferred property interests and/or properties for the benefit
      18   of the Debtors' bankruptcy estate. 6 If the transfer of the
      19
      20
                 1n relevant part, § 544(b) (1) states:
                 5

      21         [T]he trustee may avoid any transfer of an interest of
                the debtor in property or any obligation incurred by
      22        the debtor that is voidable under applicable law by a
                creditor holding an unsecured claim that is allowable
      23
                under section 502 of this title or that is not
      24        allowable only under 502(e) of this title.
           11 U.S.C. § 544(b) (1).
      25
                 61n relevant part, § 550(a) states as follows:
      26         Except as otherwise provided in this section, to the
      27         extent that a transfer is avoided under section 544
                       of this title, the trustee may recover, for the
                 benefit of the estate, the property transferred, or, if the

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       1   Marysville Property is avoided and the Marysville Property
       2   recovered, plaintiff also seeks cancellation of a deed of trust
       3   that encumbers the property in the Sixth Claim for Relief of the
       4   first amended complaint. And if less than all relief is granted,
       5   plaintiff requests a determination under Civil Rule 56(g) of
       6   facts not disputed for purposes of this adversary proceeding.
       7   Docket 107 at 3:17-19.
       8         The court considers each transfer in turn. However,
           inasmuch as the court concludes there is a disputed material fact
      10   with regard to the Hotel motion, the court need not set forth a
      11   separate statement of undisputed facts for purposes of its
      12   decision. Instead, the court discusses the relevant undisputed
      13   facts necessary to explain the disputed material fact that
      14   precludes the court from granting partial summary judgment.
      15         As to the Marysville Property motion, the undisputed facts
      16   that permit the court to grant partial summary judgment are set
      17   forth in detail. The court determines there are no disputed
      18   material facts that preclude partial summary judgment on the
      19   plaintiff's claims for avoidance and recovery of the Marysville
      20   Property free and clear of any purported liens or interests.
      21
      22   I.    THE HOTEL
      23         A.   Disputed Facts Remain
      24
      25        court so orders, the value of such property, from-
                    the initial transferee of such transfer or the
      26        entity for whose benefit such transfer was made; or.
      27            any immediate or mediate transferee of such initial
                transferee.
      28   11 U.S.C. § 550(a).

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       1         Rajpal acquired ownership of the Hotel through Brightside in
       2 November of 2008. Dockets 104, 122 at SUF 2. Rajpal owned
       3 Brightside which owned the Hotel. Id. at SUF 3.
       4         Brightside filed a voluntary Chapter 11 petition in the
       5 Northern District of Texas on September 10, 2014. Id. at SUF 8.
       6 Brightside operated as a debtor in possession during its
       7   bankruptcy proceeding. .     at SUF 9. Rajpai listed himself as
       8 the president, sole shareholder, and $1,000,000 creditor on
       9 Brightside's schedules and statement of financial affairs.
      10 at SUF 10. Rapa1 also signed all monthly operating reports as
      11   Brightside's president. .     at SUF 11.
      12         The final hearing on confirmation of Brightside's Chapter 11
      13 plan was held on May 19, 2015, at which time the Texas bankruptcy
      14 court verbally confirmed the plan. Id. at SUF 30. Under the
      15 terms of Brightside's confirmed plan, Rajpal's equity ownership
      16 in Brightside was cancelled and Simranjit acquired ownership of
      17 Brightside (and thus ownership of the Hotel) in exchange for a
      18 $60,000 capital contribution. Id. at SUF 32. Following the
      19 confirmation hearing Simranjit was the owner of Brightside/March-
      20 On Hospitality which owned the Hotel. Id. at SUF 34. Notably,
      21 nothing in Brightside's confirmed Chapter 11 plan indicates that
      22 Rapal was released from debt owed to Stanford Federal Credit
      23 Union, the franchisor, SBA or vendors/other creditors, or that
      24 Simranjit assumed such liabilities. Id. at SUF 35A.
      25         Plaintiff initially asserts that Rajpal transferred his
      26 ownership interest in the Hotel to Simranjit through Brightside's
      27 Chapter 11 plan with the actual intent to hinder, delay, or
      28 defraud creditors-Westates,LLC ("Westates") and the Small

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       1   Business Administration ("SEA") included. Docket 105 at 15:1-
       2   28:21. Plaintiff makes this claim under California Civil Code §
       3   3439.04 (a) (1) .
       4         With no direct evidence of intent, plaintiff relies on
       5   several "badges of fraud" set forth in California Civil Code §
       6   3439.04(b) .        The bankruptcy appellate panel in Wolkowitz,
       7
       8         Section 3439.04(a) (1) states as follows:
                 7


       9             A transfer made or obligation incurred by a debtor
                is voidable as to a creditor, whether the creditor's
      10        claim arose before or after the transfer was made or
                the obligation was incurred, if the debtor made the
      11        transfer or incurred the obligation as follows:
      12         (1) With actual intent to hinder, delay, or defraud any
                creditor of the debtor.
      13   California Civil Code § 3439.04 (a) (1).
      14         8Section § 3439.04(b) states:
      15              In determining actual intent under paragraph (1) of
                 subdivision (a), consideration may be given, among
      16         other factors, to any or all of the following:
                     Whether the transfer or obligation was to an insider.
      17             Whether the debtor retained possession or control
      18         of the property transferred after the transfer.
                     Whether the transfer or obligation was disclosed or
      19         concealed.
                     Whether before the transfer was made or obligation was
      20         incurred, the debtor had been sued or threatened with suit.
      21             Whether the transfer was of substantially all the
                 debtor's assets.
      22             Whether the debtor absconded.
                     Whether the debtor removed or concealed assets.
      23             Whether the value of the consideration received by
      24         the debtor was reasonably equivalent to the value of
                 the asset transferred or the amount of the obligation
      25         incurred.
                     Whether the debtor was insolvent or became
      26         insolvent shortly after the transfer was made or the
      27         obligation was incurred.
                       Whether the transfer occurred shortly before or
      MM         shortly after a substantial debt was incurred.

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       1   374 B.R. 221, validated these badges of fraud in affirming
       2   summary judgment on the issue of whether a debtor/husband made an
       3   intentional fraudulent transfer under a marital settlement
       4   agreement. As it explained:
       5         The UFTA list of 'badges of fraud' provides neither a
                 counting rule, nor a mathematical formula. No minimum
       6         number of factors tips the scales toward actual intent.
                 A trier of fact is entitled to find actual intent based
       7         on the evidence in the case, even if no 'badges of
                 fraud' are present. Conversely, specific evidence may
       8         negate an inference of fraud notwithstanding the
                 presence of a number of 'badges of fraud.'
       9
           Id. at 236 (internal citations omitted)
      10
                 Plaintiff relies on nine badges of fraud to establish an
      11
           intentional fraudulent transfer of the Hotel under the California
      12
           UFTA. Docket 105 at 19:1-26:20. That being the case, plaintiff
      13
           bears the burden of proving by a preponderance of the evidence
      14
           each badge relied upon. See Cal. Civ. Code § 3439.04(c). 9 So in
      15
           the summary judgment context, plaintiff must establish the
      16
           absence of a genuine factual dispute as to each badge. Plaintiff
      17
           has not met that burden with respect a more significant badge.
      18
           In particular, there remains a genuine dispute over whether the
      19
           Debtors received from Simranjit value reasonably equivalent to
      20
           the value of the ownership interest in the Hotel transferred to
      21
      22
                (11) Whether the debtor transferred the essential
      23
                assets of the business to a lienor that transferred the
      24        assets to an insider of the debtor.
           Cal. Civ. Code § 3439.04(b)
      25
                 Section 3439.04(c) states as follows:
                 9
      26        A creditor making a claim for relief under subdivision
      27         (a) has the burden of proving the elements of the claim
                for relief by a preponderance of the evidence.
           Cal. Civ. Code § 3439.04(c)

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       1    Simranjit through Brightside's confirmed Chapter 11 plan.' ° See
       2    Wyle v. C.H. Rider & Family et al. (In re United Energy Corp.),
       3    944 F.2d 589, 597 (9th Cir. 1991)
       4         Plaintiff asserts that the Debtors received nothing-or zero
       5    value-from Simranjit in exchange for the transfer of Rajpal's
       6    ownership interest in the Hotel to Simranjit through Brightside's
       7    confirmed Chapter 11 plan. Docket 104 at SUF5 3536.11
       8    Defendants dispute that assertion (and SUF5 35-36 upon which it
       et   is based) stating that Rajpal obtained relief from debt owed to
      10    Stanford Federal Credit Union, the franchisor, vendors, and other
      11    creditors. Docket 122 at 13:1-5, 8-9. Defendants, however, cite
      12    only to Brightside's confirmed Chapter 11 plan as the source of
      13    the purported dispute.
      14         Defendants' problem is that they do not dispute SUF 35A
      15
      16         10This unresolved factual dispute also affects plaintiff's
            constructive fraudulent transfer claim under California Civil
      17    Code § 3439.05. As plaintiff acknowledges, "[t]his badge is
      18    essentially the same as whether a person has received 'reasonably,
            equivalent value' for purposes of analyzing whether a
      19    constructive fraudulent transfer has occurred." Docket 105 at
            23:24-26. So if the intentional fraudulent transfer claim in the
      20
            First Claim for Relief of the amended complaint fails summary
      21    judgment on this basis, then so too does the constructive
            fraudulent transfer claim in the Second Claim for Relief and all
      22    related claims in the Seventh, Eighth, and Ninth Claims for
            Relief.
      23
                 11 SUF 4*35 states as follows:
      24
                 Under the terms of the Brightside plan as confirmed,
      25         Rajpal received nothing in exchange for the cancelation
                  [sic] of his equity ownership in Brightside.
      26         SUF 4*36 states as follows
      27         In effect, Rajpal transferred his interest in
                 Brightside to Simranjit for no consideration.
      28    Dockets 104 at 9, 122 at 13.

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       1   which states as follows: "There is nothing in the Brightside
       2   Plan as confirmed to indicate that Rajpal was released from any
       3   debt owed to Stanford Federal Credit Union, the franchisor, the
       4   SEA or vendors/other creditors, or that Simranjit assumed any
       5   liabilities to those creditors." Docket 122 at 13:510.12 Thus,
       6   having admitted that Brightside's confirmed Chapter 11 plan did
       7   not release Rajpal from any debt owed to Stanford Federal Credit
       8   Union, the franchisor, the SEA, vendors, or other creditors and
       9   that Simranjit did not assume any such liabilities through
      10   Brightside's confirmed Chapter 11 plan, Erightside's plan does
      11   not support defendants' assertion of a genuine dispute concerning
      12   SUF5 35-36. SUFs 35-36 are therefore undisputed.
      13         Inasmuch as SUF5 35-36 are undisputed the Debtors
      14   effectively received nothing from Simranjit in exchange for
      15   Rajpal's ownership interest in Brightside and, thus, for the
      16   Hotel. But that does not necessarily end the inquiry because the
      17   court must still consider the value of what Rapa1 gave up,     i.e.,
      18   Rajpal's ownership interest in the Hotel, and compare that to
      19   what Rajpal received from Simranjit,   i.e., nothing. Stated
      20   another way, did Rajpal's ownership interest in the Hotel have
      21   value and, if so, was that value reasonably equivalent to the
      22   value that Simranjit gave Rajpal for Rajpal's Brightside
      23   interest? See Wyle, 944 F.2d at 597. If Rajpal's ownership
      24   interest in the Hotel had no value (or if it had a negative
      25
                 12 SUF
                      35A is also consistent with Rajpal's admission in his
      26   deposition that he received nothing in exchange for his interest
      27   in the Hotel, Docket 103, Ex. CC, pp. 56:5-7; 81:21-82:4, and
           that he was not personally liable for Brightside's obligations.
      28   Id., Ex. KK, pp. 3-4 (Pp. 84-85).

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       1 value) then, conceivably, Rajpal received a reasonably equivalent
       2 value for his Brightside interest from Simranj±t.
       3         On the question of the Hotel's value plaintiff submitted no
       4 direct evidence to establish the value of the Hotel-and thence
       5 the value of Rajpal's ownership interest in the Hotel-at the time
       6 the interest was transferred to Simranjit through Brightside's
       7 confirmed Chapter 11 plan, i.e., May-June of 2015. Rather,
       8 plaintiff states that "there can be no doubt that the Hotel did
       9 have a significant value." Docket 105 at 24:9. Plaintiff then
      10 concludes that "the 'nothing' that Rajpal received (UF 53) is not
      11 'reasonably equivalent' to the value of the Hotel, whatever that
      12 value might have been (UF 54). 11 Docket 105 24:18-19. Plaintiff
      13 reaches this conclusion based on an inference drawn from other
      14 facts at or around the time of Brightside's Chapter 11 bankruptcy
      15 filing and plan confirmation which include the following:
      16         a.   Rajpal purchased the Hotel through Brightside in
                 2008 for $5 million;
      17
                 b.   Rajpal was able to illegitimately withdraw
      18         $103,200 from the Hotel without affecting its ability
                 to reorganize;
      19
                 C.   In December, 2018 (18 months after confirmation of
      20         the plan), Simranjit represented in a signed financial
                 statement that the Hotel had a value of $6,000,000;
      21
                 d.   In 2017, Simranjit obtained a new loan against the
      22         Hotel for $2.5 million, based in part on the lender's
                 valuation of the Hotel at $5.8 million;
      23
                 e.   Simranjit withdrew more than $800,000 from the
      24         Hotel in 2017 and 2018, in addition to his regular
                 paychecks.
      25
           Docket 122 at 16:8-23 (SUF 52) . There are several problems with
      26
           plaintiff's argument.
      27
                 In order to conclude that the Brightside interest-and thence
      28

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       1 Rajpal's ownership interest in the Hotel-had some value the court
       2 must draw an inference adverse to the defendants. Doing so flies
       3 in the face of the well-established summary judgment principle
       4 that inferences must be drawn in favor of the nonmoving party.
       5         Arguably, it may be permissible to draw an inference adverse
       6 to the nonmoving party when the nonmoving party submits
       7 absolutely no evidence to dispute a moving party's fact and there
       8 is therefore nothing from which an inference favorable to the
       9 nonmoving party may be drawn. See Mazalin v. Safeway, Inc., 2012
      10 WL 5387704,    *6 (E.D. Cal. 2012) . And the court did sustain
      11 plaintiff's object.ion to Brightside's bankruptcy schedules on
      12 which defendants rely to establish the Hotel's $1,750,000 value,
      13 to demonstrate Brightside's insolvency, and to show that Rajpal's
      14 ownership interest in the Hotel was valueless under defendants'
      15 version of the reasonably equivalent value analysis. See Dockets
      16 118 at 7:7-22, 122 at 16: 8-23 (SUF 52) . So it would seem that
      17 the court could rely on plaintiff's unchallenged "valuation"
      18 facts to infer that the Hotel-and thence Rajpal's ownership
      19 interest in it-did in fact have some value greater than zero when
      20 it was transferred to Simranjit. But again, the analysis does
      21 not end there.
      22         The court's ruling on the plaintiff's objection to
      23 defendants' use of Brightside's bankruptcy schedules goes to the
      24 form of the evidence, so the objection technically is correct.
      25 But evidence that is not submitted in a proper form at the
      26 summary judgment stage may be considered in ruling on a summary
      27 judgment motion if the evidence could be submitted in a form that
      28 would be admissible at trial. Fraser v. Goodale, 342 F.3d 1032,

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       1 1036 (9th Cir. 2003) ("At the summary judgment stage, we do not
       2 focus on the admissibility of the evidence's form. We instead
       3 focus on the admissibility of its contents.") (citations
       4 omitted) . Burch, 433 F.Supp.2d at 1120 (citing Fraser, 342 F.3d
       5 at 1037). So although Brightside's bankruptcy schedules may be
       6 hearsay, the court may nevertheless consider the content of the
       7 schedules in ruling on the Hotel motion because defendants may be
       8 able to introduce that content in a form that is admissible at
       9 trial. For example, as the Hotel's owner when Brightside's
      10 petition was filed, Rajpal could authenticate the bankruptcy
      11 schedules and testify as to the Hotel's value stated in the
      12 schedules. Enewally, 368 F.3d at 1173; Hughes v. United States,
      13 953 F.2d 531, 543 (9th Cir. 1992) (litigation adviser's affidavit
      14 may be considered on summary judgment despite hearsay objection;
      15 the facts underlying the affidavit are of the type that would be
      16 admissible as evidence even though the affidavit itself might not
      17 be admissible). Indeed, his declaration filed in support of
      18 defendants' opposition states just that. Docket 120.
      19         In short, the value of the Hotel is a material fact for
      20 purposes of plaintiff's intentional and constructive fraudulent
      21 transfer claims and a genuine dispute regarding that material
      22 fact remains. That precludes the court from granting the Hotel
      23 motion. Plaintiff's motion for partial summary judgment related
      24 to Hotel will therefore be denied.
      25         B.   ". . .as a matter of law..   ."




      26         There is an alternative, and perhaps even more compelling,
      27 reason for the court to deny the Hotel motion. Even if all of
      28 plaintiff's facts, Hotel value included, are undisputed the court

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       1 has serious doubts that plaintiff is entitled to judgment as a
       2 matter of law on the First and Second Claims for Relief.
       3         Plaintiff's Hotel allegations boil down to the assertion
       4 that Rajpal-and thence Brightside as a debtor in possession
       5 operated by Rajpal-committed fraud in the Brightside bankruptcy
       6 case, generally, and, specifically, in the context of the
       7 confirmation of Brightside's Chapter 11 plan. The fraud pertains
       8 to the transfer of the Hotel ownership interest from Rajpal to
       9 Simranjit through Brightside's confirmed Chapter 11 plan.
      10         Avoiding the transfer of Rajpal's ownership interest in the
      11 Hotel from Rajpal to Simranjit through this adversary proceeding
      12 on the basis of fraud in the plan confirmation process and
      13 vesting the ownership interest in an entity other than as ordered
      14 by the Texas bankruptcy court, at best, is tantamount to a
      15 modification of Brights±de's confirmed Chapter 11 plan. At
      16 worst, it is a de facto revocation of another bankruptcy judge's
      17 confirmation order over five years after the fraud occurred and
      18 the confirmation order entered.
      19         A number of courts have recognized " 1144 [of the
      20 Bankruptcy Code] as the exclusive means by which a plan can be
      21 revoked, and § 1127 [of the Bankruptcy Code] as the exclusive
      22 means by which a plan can be modified." In re Logan Place
      23 Properties, Ltd., 327 B.R. 811, 814 (Bankr. S.D. Tex. 2005).
      24 Indeed, very recently in Rosenstein & Hitzeman, AAPLC v.
      25 Eliminator Custom Boats, Inc. (In re Eliminator Custom Boats,
      26 Inc.), 2019 WL 4733525 (9th Cir. BAP 2019), the bankruptcy
      27 appellate panel explicitly stated that § 1144 is the exclusive
      RM means by which to revoke a confirmation order and § 1127(b) is
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       ii the exclusive means by which to modify a confirmed plan. Id. at
       01 *9 • Although unpublished, Rosenstein is highly persuasive. 13
       3         The point here is that there is one process under the
       4   Bankruptcy Code for revoking a Chapter 11 confirmation order and
       5   a separate process for modifying a confirmed Chapter 11 plan.
       6   The de facto revocation of the Brightside confirmation order and
       7   the modification of Brightside's confirmed Chapter 11 plan that
       8   effectively results from undoing in this adversary what the Texas
       9   bankruptcy court ordered and approved when it confirmed
      10   Brightside's Chapter 11 plan is not that process. 14 So even if
      11
      12          With regard to revocation, the appellate panel cited Dale
                 13

           C. Eckert Corp. v. Orange Tree Assoc., Ltd. (In re Orange Tree
      13   Assocs., Ltd.), 961 F.2d 1445 (9th Cir. 1992), in which the Ninth
           Circuit stated not once, but twice, that "[aln order confirming a
      14   Chapter 11 reorganization plan may be revoked only in accordance
      15   with 11 U.S.C. § 1144[,]" id. at 1447 (emphasis added), and
           "ES] ection 1144 is the only avenue for revoking confirmation of a
      16   plan of reorganization." Id., n.6 (internal quotations and
           citations omitted, emphasis added); accord In re Lothian Oil,
      17   Inc., 508 Fed.Appx. 352, 353 (5th Cir. 2013) (recognizing § 1144
      18   and possibly Bankruptcy Rule 9024 as only avenues available to
           revoke confirmation order) . With regard to modification, the
      19   appellate panel cited Alberta Energy Partners v. Blast Energy
           Servs., Inc. (In re Blast Energy Servs., Inc.), 593 F.3d 418, 427
      20
            (5th Cir. 2010), in which the Fifth Circuit concluded that §
      21   1127(b) is the exclusive means by which to modify a confirmed
           plan.
      22
                 To the extent plaintiff alleges fraud in connection with
                 14
      23   Brightside's confirmation proceedings, if anywhere, Texas rather
      24   than California may be the better venue for the resolution of
           that claim. However, the court notes that both Circuits strictly
      25   adhere to the 180-day revocation period in § 1144 even if fraud
           is discovered after the 180-day period expires. Lopez v. Post-
      26   Effective Date Committee of Creditors (In re Valley Health
      27   System), 2012 WL 3205173, *5 (9th Cir. BAP 2012) (citing Orange
           Tree, 961 F.2d at 1447); see also Diamond Enterprises Ltd., LP v.
      28   Younessi (In re Younessi), 601 F.3d 815, 822 (9th Cir. 2019)

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       1       all of the facts that plaintiff asserts are undisputed are indeed
       2       undisputed, the court is unable to conclude that plaintiff is
       3       entitled to judgment as a matter of law on the First, Second, and
       4       to the extent related, the Seventh, Eighth and Ninth Claims for
       5       Relief in the amended complaint as they pertain to the fraudulent
       6       transfer of the Hotel. It may very well be that, to the extent
       7       they concern the Hotel, plaintiff is not entitled to judgment on
       8       those claims at all. But for purposes of the present motion for
       9       partial summary judgment on the Hotel motion, plaintiff's motion
      10       is denied on this alternative basis. 15
      11
      12   I   II. The Marysville Property
      13            A.    Undisputed Facts
      14            Rajpal and Taranjit obtained title to the Marysville
      15       Property as early as 1997. Dockets 110, 127 at SUF 3. The
      16       Marysville Property is a commercial property across the street
      17       from the Marysville courthouse with the top portion converted to
      18       living space. Id. at SUF 4. The commercial space is currently
      19       leased and some of the living space is leased to non-debtor third
      20
      21
               (reaffirming Orange Tree's strong policy of finality of 180-day
      22       revocation period even if fraud not discovered until after period
               passed); accord Lothian Oil, 508 Fed.Appx. 352.
      23
      24             Under the circumstances the court will exercise its
                    ' 5



               discretion to deny plaintiff's request to designate facts that
      25       are undisputed for purposes of further proceedings. See Fed. R.
               Civ. P. 56(g); Fed. R. Bankr. P. 7056. See also Rios v. Tilton,
      26       2016 WL 29567, *4 n.5 (E.D. Cal. 2016) (noting that the trial
      27       court has discretion under Civil Rule 56(g) to deny designation
               of facts as undisputed to facilitate further development of the
      28       case)

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       1   parties.      •4   at SUF 5.
       2         On July 7, 2009, Rajpal executed and recorded an
       3   interspousal deed pursuant to which he transferred his ownership
       4   interest in the Marysville Property to Taranjit. Id. at SUF 7.
       5   On July 12-13, 2012, Taranjit executed and recorded a quitclaim
       6   deed that transferred her ownership interest in the Marysville
       7   Property to Rajpal and Taranjit, husband and wife, as community
       8   property. Id. at SUF 9.        As of July 13, 2012, the Debtors owned
       9   the Narysville Property. Id. at SUF 10.
      10         Meanwhile, on June 19, 2012, the Debtors formed a limited
      11    liability company by the name of Pacific Coast Venture
      12   Management, LLC ("PCV"). Id. at SUF 11.            The Debtors quitclaimed
      13    their interest in the Marysville Property to PCV on July 19,
      14 2012.     Id. at SUF 12.
      15         On October 15, 2012, the Debtors transferred 50          of their
      16    interest in PCV to Simranjit. Id. at SUF 2, 13.           On July 18,
      17 2013,    the Debtors transferred the remaining 50          of their interest
      18    in PCV to Simranjit. Id. at SUF 17.           Both transfer documents
      19    state that the transfers were for $10 each and other good and
      20   valuable consideration. Id. at SUF 14, 18.            Neither transfer was
      21    recorded with the secretary of state until December 7, 2015.
      22   lat SUF 40.
      23         On July 18, 2013, Rajpal also resigned as PCV's Director,
      24   Manager, and Officer and Taranjit resigned as PCV's Director and
      25    Officer. Id. at SUF 19.       Despite that resignation, on August 9,
      26 2013,    signing as PCV's Manager, Rajpal executed a deed of trust
      27    that purported to secure a $500,000 note in favor of Thrive, id.
      28    at SUF 20, which is wholly-owned by Simranjit. Id. at SUF 23.

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       1 No promissory note exists related to the deed of trust, Id. at
       2   SUF   21, and no consideration was provided to PCV in exchange for
       3 the deed of trust that Rajpal executed in favor of Thrive.
       4 at SUF 22. In 2015, Rajpal also wrote ten checks on PCV's bank
       5 account payable to himself and Taranjit. Id. at SUF 24.
       6          The Debtors also had at least two significant creditors at
       7 and around the time they transferred their PCV interest to
       8 Simranjit in October 2012 and July 2013. In connection with the
       9 purchase of the Hotel discussed infra, in 2008 Rajpal obtained a
      10 $1,501,000 loan from the SBA. Id. at SUF 30. Rajpal personally
      11 guaranteed that loan. Id. at SUF 31. The SBA loan guarantee is
      12 unconditional in that it states: "Guarantor must pay all amounts
      13 due under the Note when Lender makes written demand upon
      14 Guarantor." Id. at SUF 32. According to plaintiff, that makes
      15 the SBA Rajpal's creditor. Id. at SUF 33. Defendants dispute
      16 the SBA's creditor status (and the SUF upon which the fact is
      17 based) but cite no evidence in the record (or elsewhere) to
      18 support the dispute. Docket 127 at 8:8-9 (re:      SUF   33)
      19          In 2012, the Debtors also had an interest in real property
      20 located at 31 Third Street, Marysville, California ("Third Street
      21 Property") . Dockets 110, 127 at SUF 34. The Third Street
      22 Property was collateral under a deed of trust for a $400,000 loan
      23 the Debtors obtained from Westates. Id. at SUF 34. The Debtors
      24 defaulted on their loan obligations to Westates in October of
      25 2012 and, despite demand, failed or refused to pay Westates
      26 according to the terms of the loan documents. Id. at           SUF   36. In
      27 2013, Westates filed a lawsuit for judicial foreclosure and a
           deficiency judgment against the Debtors. .      at SUF 37.

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       1 Westates ultimately obtained a foreclosure judgment and an order
       2 of sale in October 2015, followed by a sheriff's sale of the
       3 Third Street Property in 2016 and thereafter entry of a $573,506
       4 deficiency judgment against the Debtors on December 1, 2016.
       5 at SUF 38.
       6           At about the same time, Simranjit, in a personal financial
       7 statement submitted to Southwest Bank, represented that the value
       8 of the Marysville Property was $800,000 and it had no
       9 liabilities. Dockets 110, 127 at SUF 25. Simranjit also
      10 represented to Southwest Bank that he paid nothing for the
      11 Marysville Property. Id. at SUF 26. Defendants dispute SUF 26
      12 but, again, they cite to no evidence in the record (or elsewhere)
      13 to support the dispute. Docket 127 at 7:7-22. None.
      14           Debtors eventually filed their Chapter 7 petition on August
      15 11, 2017. Dockets 110, 127 at SUF 1.             This adversary proceeding
      16 followed on June 22, 2018. Docket 1.
      17           B.   Analysis
      18                1.   No Genuine Issue
      19           As a preliminary matter, the court addresses SUF 26
      20 ("Simranjit represented to Southwest Bank that he paid nothing
      21 for the [Marysville Property] .',) and SUF 33 ("The SBA was
      22 creditor of Rajpal Chatha in 2012 and 2013.") which defendants
      23 assert are disputed. Dockets 110 at 5:17-19            (SUF   26), 6:11-12
      24    (SUF   33); 127 at 7:7-9   (SUF   26), 8:8-9 (SUF 33). Without
      25 weighing the evidence or assessing credibility, the court must
      26 determine if defendants' dispute of SUFs 26 and 33 is "genuine"
      27 or, in other words, if there is a genuine issue of material fact
      28 that precludes summary judgment. See Anderson, 477 U.S. at 249;
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       1 McDonald v. Yates, 2012 WL 6514658,        *5 (E.D. Cal. 2012)

       2            Civil Rule 56(c) requires the party asserting that a fact is
       3 genuinely disputed to support its assertion that the fact is
       4 disputed by citing to particular parts of materials in the
       5 record, showing that the materials cited by the adverse party do
       6 not establish the absence of a genuine dispute, or that the
       7 adverse party cannot produce admissible evidence to support the
       8 fact. There is a similar obligation in Local Bankruptcy Rule
       9 7056-1 which requires that with each denial of an undisputed fact
      10 the nonmoving party must cite to the portion of the record relied
      11   I   upon in support of the denial. See Local Bankr. R. 7056-1(b).
      12            Since plaintiff has produced admissible evidence in support
      13 of SUF5 26 and 33, defendants are left with the option of citing
      14 to evidence in the record or showing that the materials plaintiff
      15 cites to support each undisputed fact do not establish the
      16 absence of a genuine dispute. In either case, defendants'
      17 showing must be an evidentiary one. Indeed, the Ninth Circuit
      18 has long recognized in a variety of contexts that unsupported and
      19 unsubstantiated conclusory statements (such as the ones upon
      20 which defendants rely in response to SUF5 26 and 33) do not
      21 create genuine issues of material fact capable of defeating a
      22 valid motion for summary judgment. Estate of Tucker ex rel.
      23 Tucker v. Interscope Records, Inc., 515 F.3d 1019, 1033 (9th Cir.
      24 2008) (stating that "unsubstantiated assertions do not create a
      25 triable issue of fact"); Hernandez v. Spacelabs Medical Inc., 343
      26 F.3d 1107, 1112 (9th Cir. 2003) (stating that the nonmoving party
      27 "cannot defeat summary judgment with . . - unsupported conjecture
      28 or conclusory statements") ; Taylor v. List, 880 F.2d 1040, 1045

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       1   (9th Cir. 1989) ("A summary judgment motion cannot be defeated by
       2   relying solely on conclusory allegations unsupported by factual
       3   data.")     •16
                             And, of course, it is the nonmoving party's burden to
       4   make the requisite evidentiary showing and not the court's
       5   obligation to search the record for evidentiary support of a
       6   disputed fact. Keenan v. Allan, 91 F.3d 1275, 1279 (9th Cir.
       7   1996) ("As other courts have noted, it is not our task, or that
       8   of the district court, to scour the record in search of a genuine
           issue of triable fact. We rely on the nonmoving party to
      10   identify with reasonable particularity the evidence that
      11   precludes summary judgment."); see also Nilsson, Robbins,
      12   Dalqarn, Berliner, Carson & Wurst v. Louisiana Hydrolec, 854 F.2d
      13   1538, 1545 (9th Cir. 1988) (per curiam) (affirming summary
      14   judgment and validating local rule that imposed affirmative
      15   burden on nonmoving party to list genuine issues with appropriate
      16   record cites)
      17         As noted above, with regard to both undisputed facts at SUFs
      18   26 and 33, defendants' asserted dispute is limited to statements
      19   that are not supported or substantiated by any citation to
      20
      21
                 So too has the district court. Parsons v. United States,
                 ' 6

      22   360 F. Supp. 2d 1083, 1087 (E.D. Cal. 2004) ("If the moving party
           can meet his burden of production, the non-moving party must
      23   produce evidence in response.... [H]e Cannot defeat summary
      24   judgment with . . . unsupported conjecture or conclusory
           statements."). And so too has the bankruptcy appellate panel.
      25   Krishnanmurthy v. Nimmagadda (In re Krishnanmurthy), 209 B.R.
           714, 721 (9th Cir. BAP 1997) (concluding that to survive
      26   adversary plaintiffs' summary judgment motion, debtor-defendants
      27   were obliged to produce some significant probative evidence;
           conclusory arguments unsupported by factual statements or
      28   evidence did not meet that burden).

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       1 evidence in the record or elsewhere. None. Docket 127 at 7:7-9
       2 ("That portion of the financial statement was is [sic] not
       3 completed."), 8:8-9 ("The obligation owed to the SBA was a
       4 contingent obligation. No demand for payment had been made.").
       5 So then, what happens? Civil Rule 56(e) provides the court with
       6 several options. The court may give the nonmoving party an
       7 opportunity to properly address the fact, consider the fact
       8 undisputed for purposes of the motion, grant summary judgment if
       9 the motion and supporting materials-including the facts
      10 considered undisputed-show that the movant is entitled to it, or
      11 issue any other appropriate order. See Fed. R. Civ. P. 56(e);
      12 Fed. R. Bankr. P. 7056.
      13         In Beard v. Banks, 548 U.S. 521 (2006), the United States
      14 Supreme Court stated that a party opposing summary judgment who
      15 "fail[s] specifically to challenge the facts identified in the
      16 [moving party's] statement of undisputed facts . . . is deemed to
      17 have admitted the validity of [those] facts[.]". Id. at 527.
      18 This court reads the Supreme Court's statement in Beard as strong
      19 support for treating facts that are not properly challenged as
      20 undisputed. The court also notes that at no time after plaintiff
      21 I filed his reply pointing out the absence of evidentiary support
      22 for SUFs 26 and 33 did defendants avail themselves of an
      23 opportunity to supplement or further support SUFs 26 and/or 33.
      24 See Local Bankruptcy Rule 9014-1(f) (1) (D) (party may seek leave
      25 to file additional response)
      26         Because the extent of defendants' dispute of SUFs 26 and 33
      27 I are conclusory statements unsupported by any record citation or
      28 other evidentiary reference, and because the United States

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       ii Supreme Court has clearly indicated that facts not properly
       21 challenged at the summary judgment stage are deemed admitted, the
       3 dispute over SUFs 26 and 33 is not genuine. That means SUFs 26
       4 and 33 are undisputed for purposes of the Marysville Property
       5 motion: Simranjit paid nothing for the Marysville Property and
       6 the SBA was Rajpal's creditor in 2012 and 2013.'
       7              2.   Intentional Fraudulent Transfer
       8                   a.   The Transfer
       9         The term "transfer" under both the Bankruptcy Code and the
      10 California UFTA is defined broadly to include nearly every mode
      11 of disposing or parting with property or an interest in property.
      12 See In re Tarkanian, 562 B.R. 424, 451 n.20 (Bankr. D. Nev. 2014)
      13 (Bankruptcy Code); Sturm v. Moyer, 32 Cal. App. 5th 299, 308
      14 (2019) (UFTA) . "The crux of the definition is that the debtor no
      15 longer has the rights that the debtor possessed prior to the
      16 event." CIBC 19 East Greenway, LLC v. Bataa/Kierland LLC (In re
      17 Bataa/Kierland LLC) / 496 B.R. 183, 196-97 (D. Ariz. 2013)
      18         The transfers here consist of the Debtors' October 2012 and
      19 July 2013 transfers of their interest in PCV to Simranjit. The
      20 Debtors owned the Marysville Property. They placed it into a
      21 limited liability company and they thereafter gave Simranjit 100%
      22 of their interest in the limited liability company which
      23 effectively gave Simranjit ownership of the Marysville Property.
      24 The first requirement of a fraudulent transfer,     i.e., a
      25 "transfer," is therefore satisfied.
      26
      27        1n any case, defendants "concede [] that Debtors had
                 17

          creditors when they transferred Pacific Coast to Defendant."
      28 Docket 124 at 9:25-28.

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       1                   b.   Badges of Fraud
       2         Plaintiff relies initially on the intentional fraudulent
       3 conveyance provision of the California UFTA found at California
       4 Civil Code § 3439.04 (a) (1). California Civil Code § 3439.04(b)
       5 lists eleven factors, otherwise known as "badges of fraud", that
       6 may be considered to establish actual intent to defraud. See fn.
       7 8, supra. Five badges of fraud have been found to be sufficient
       8 on summary judgment to establish an actual intent to defraud.
       9 Wolkowitz, 374 B.R. at 238-39. At least six badges of fraud
      10 exist here. And when considered in totality the court concludes
      11 they establish an intent by the Debtors to hinder, delay, or
      12 defraud creditors-the SEA and Westates included-by removing the
      13 Marysville Property from their reach.
      14         (1) The Debtors transferred their ownership interest in PCV
      15 to an insider. Simranjit is Rajpal's and Taranj it's son and
      16 therefore an insider of the Debtors. See Cal. Civ. Code §
      17 3439.04(b) (1)
      18         (2) Rajpal retained control over PCV after the Debtors
      19 transferred their interest in PCV to Simranjit and after the
      20 Debtors resigned as principals of PCV. Asserting himself to be
      21 PCV's Manager, Rajpal executed a deed of trust that purported to
      22 encumber the Marysville Property for Thrive's benefit. Rajpal
      23 also continued to write and sign checks on PCV's bank account.
      24 See Cal. Civ. Code § 3439.04(b) (2).
      25         (3) The Debtors' transfer of their interest- in PCV were not
      26 disclosed and were effectively concealed. Although the Debtors
      27 transferred one-half interest of their PCV interest to Simranjit
      28 in October 2012 and the other one-half in July 2013, neither

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       1 transfer was recorded with the secretary of state until December
       2 2015. See Cal. Civ. Code § 3439.04(b) (3).
       3         (4) Defendants' defaulted on their Westates loan
       4 obligations in 2012 when they failed and refused to make payments
       5 as the loan documents required. That default raised the specter
       6 of litigation in that it gave Weststates a basis to sue the
       7 Debtors. Indeed, litigation materialized in 2013. That lawsuit
       8 resulted in a judgment of foreclosure entered against the Debtors
       9 in October 2015 and a $573,506 deficiency judgment also entered
      10 against the Debtors in January 2016. See Cal. Civ. Code §
      11   3439.04(b) (4).
      12          (5) The Debtors did not receive reasonably equivalent value
      13 from Simranjit for the interests in PCV transferred to Simranjit.
      14 This analysis involves comparing what the Debtors gave to
      15 Simranjit,    i.e., the value of their interest inPCV, and what the
      16 Debtors received from Simranjit in exchange for what they
      17 surrendered. Wyle, 944 F.2d at 597. According to facts that are
      18 undisputed, Simranjit received an asset from the Debtors worth,
      19 in his own estimation, $800,000 (SUF 25) for, by his own
      20 admission, nothing (SUF 26).
      21         The court is aware that Simranjit filed a declaration in
      22 support of defendants' opposition to the Hotel motion (but none
      23 in support of defendants' opposition to the Marysville Property
      24 motion). See Docket 119.18 Simranjit's declaration was filed as
      25
      26        Simranjit's declaration at Docket 119 is identified by
                 ' 8



      27 docket control no. GJH-1 which is the initial motion for partial
          summary judgment related to the Hotel. The declaration was
      28 apparently re-filed with defendants' opposition to the subsequent

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       1 the basis for the defendants' "Additional Undisputed Facts" which
       2 the court struck. Nevertheless, consistent with the Center for
       3 Employment Training decision, supra, the court considers
       4 Simranhit's declaration in the context of the Marysville Property
       5 motion despite defendants' attorney's sloppy practice of not
       6 filing it with (or citing to it for) the proper opposition.
       7         The Ninth Circuit has long-recognized that "[a] conclusory,
       8 self-serving affidavit, lacking detailed facts and any supporting
       9 evidence, is insufficient to create a genuine issue of material
      10 fact." FTC v. Publishing Clearing House, 104 F.3d 1168, 1171
      11 (9th Cir. 1997); Amusement Art, LLC v. Life is Beautiful, LLC,
      12 768 Fed.Appx. 683, 686 (9th Cir. 2019) (skeletal and conclusory
      13 declaration insufficient to create genuine issue of material
      14 fact). As it pertains to the Marysville Property motion,
      15 Simranjit's declaration fits that bill. The declaratin is
      16 riddled with conclusory, skeletal, and self-serving statements
      17 and neither the statements nor the declaration itself are
      18 supported by any admissible evidence. Therefore, the declaration
      19 does not create any genuine factual dispute.
      20         To reiterate, it is undisputed that Simranjit acquired a
      21 property interest (and property) he valued at $800,000 from the
      22 Debtors for (in his own words) nothing. But in his declaration
      23 Simranjit states that he acquired the first 50% interest in PCV
      24 from the Debtors in exchange for "work and services" related to
      25 the Marysville Property and a negotiated deal that provided the
      26
      27
          Hotel motion, which is docket control no. GJH-3, without change
      28 to the docket control number.

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       1   Debtors with debt relief. Simranjit similarly states that he
       2   acquired the second 50% interest also in exchange for the earlier
       3   "work and services" and a promise to the Debtors that they would
       4   have a life estate interest in the Marysville Property.
       5         With regard to the initial 50% PCV interest that Simranjit
       6   received from the Debtors, he provides no detailed facts, and
       7   makes no attempt to even identify, what the purported "work and
       8   services" might be or how it constituted consideration. 19 And as
       9   to the purported "debt relief," Simranjit's own declaration
      10   states that he received the initial 50% interest as a "gift" from
      11   the Debtors which means, by his own admission, he received the
      12   initial interest for no consideration at all. As to the second
      13   50% interest, again, the "work and services" consideration is not
      14   explained or identified. And as to the promised life estate,
      15   defendants have identified no documents in the record necessary
      16   to establish a life estate interest in property.
      17         In short, to the extent it pertains to the Marysville
      18   Property, Simranj it's declaration does not create any genuine
      19   issue of fact. Therefore, consistent with the facts that are and
      20   have been determined to be undisputed, the Debtors did not
      21   receive reasonably equivalent value from Simranjit in exchange
      22   for the transfer of their interests in PCV to Simranjit. See Cal.
      23   Civ. Code § 3439.04(b) (8).
      24
      25         The court made a factual finding in the Westates adversary
                 ' 9



           proceeding, Adv. No. 17-02205, that the Debtors could not
      26   identify the consideration in the form of work and services they
      27   purportedly received from Simranjit in exchange for their
           interests in PCV and, importantly, they had no records that any
           consideration existed. Docket 43 at 10:5-16, 16:25-28.

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       1         (6) Finally, the Debtors were insolvent at and around the
       2 time they transferred their interest in PCV to Simranjit.
       3 Insolvency is defined under California fraudulent transfer law as
       4 follows: "A debtor that is generally not paying the debtor's
       5 debts as they become due other than as a result of a bona fide
       6 dispute is presumed to be insolvent." Cal. Civ. Code §
       7 3439.02(b). That the Debtors admit in SUF 36 they defaulted on
       8 their loan obligation to Westates in October 2012 and that
       9 despite demand they failed or refused to pay Westates as required
      10 is evidence the Debtors were not paying their obligations as they
      11 came due and they were therefore insolvent. The court notes
      12 defendants' contention in their opposition that "other facts
      13 might lead a party to default on a loan, including a good faith
      14 dispute with the lender or a formulate business plan." Docket
      15 124 at 10:25-27. But, again, that assertion is unsupported by
      16 any citation to evidence in the record or elsewhere. It is
      17 nothing more than legal argument which is not evidence and does
      18 not create any disputed issue of fact regarding the insolvency
      19 presumption or otherwise. Flaherty v. Warehousemen, Garage &
      20 Service Station Employees' Local Union No. 334, 574 F.2d 484, 486
      21 n. 2 (9th Cir. 1978). See Cal. Civ. Code § 3439.04(b) (9).
      22                   C.   Conclusion Regarding Intentional Fraudulent
                                Transfer of the Marysville Property
      23
                 For the foregoing reasons, the court concludes that the
      24
           Debtors' transfer of their interest in PCV-and thence their
      25
           ownership of the Marysville Property-to Simranjit is (and was) an
      26
           intentional fraudulent transfer. While insolvent and under a
      27
           threat of litigation resulting from a loan default Debtors
      28

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       1 transferred their ownership interest in valuable real property to
       2 Simranjit for no consideration and therefore for less than
       3 reasonably equivalent value in an effort to place that property
       4 outside the reach of their creditors. Plaintiff's second motion
       5 for summary judgment will therefore be granted and the Debtors'
       6 transfer of their interest in PCV to Simranjit will be avoided in
       7 its entirety as an intentional fraudulent transfer.
       8         B.   Recovery
       9         Following the avoidance of a § 544 transfer, the trustee may
      10 recover from the initial transferee property transferred. 11
      11 U.S.C. § 550(a). That means, here, plaintiff will recover the
      12 Debtors' interest in PCV and PCV's assets from Simranjit.
      13         Simranjit will be ordered to execute any documents necessary
      14 to transfer 100% of his interest in PCV to the plaintiff in his
      15 capacity as the trustee of the Debtors' bankruptcy estate within
      16 ten (10) days of the entry of judgment consistent with this
      17 memorandum decision. Failure to do so will be deemed to be a
      18 contempt. Additionally, should Simranjit fail to comply with the
      19 court's order to transfer his interest in PCV to the plaintiff,
      20 the court will entertain an ex parte application by the plaintiff
      21 for authority to appoint another individual to execute any and
      22 all necessary documents pursuant to Civil Rule 70(a) applicable
      23 by Bankruptcy Rule 7070.
      24         C.   The Sham Deed of Trust
      25         Effective July 18, 2013, Rajpal resigned as PCV's Manager,
      26 Director, and Officer and Tarinjit resigned as PCV's Director and
      27 Officer. Yet, on August 9, 2013, Rajpal, as PCV's Manager,
      28 signed a deed of trust purporting to secure a note for $500,000

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       1 in favor of Simranj it's wholly-owned entity, Thrive. Not only
       2 did Rajpal lack the authority to execute the deed of trust on
       3 August 9, 2013, but, "no promissory note exists related to the
       4 deed of trust purportedly granted by Pacific Coast to Thrive
       5 Management[,]" dockets 110, 127 at SUF21, and no consideration
       6 was given for the deed of trust by Thrive. Id. at SUF 22.
       7 Therefore, any lien created by the Thrive deed of trust is void,
       8 cancelled, and set aside. Plaintiff shall recover the Marysville
       9 Property free and clear of any such lien.
      10         D.   Defendants' Remaining Arguments Lack Merit
      11         Defendants assert that plaintiff's recovery of the
      12 Marysv±lle Property and the Hotel is overreaching in the sense
      13 that plaintiff would recover more than necessary to satisfy
      14 claims of the Debtors' bankruptcy estate. However, as noted
      15 above, the Hotel motion is denied. Defendants' over-reaching
      16 argument is therefore without merit. And so too is the
      17 defendants' statute of limitations argument.
      18         The statute of limitations for an intentional fraudulent
      19 transfer claim under Cal. Civ. Code § 3439.04 (a) (1) is found in
      20 California Civil Code § 3439.09 which states that an action to
      21 avoid the transfer is extinguished unless action is brought
      22 "[u]nder paragraph (1) of subdivision (a) of Section 3439.04, not
      23 later than four years after the transfer was made or the
      24 obligation was incurred or, if later, not later than one year
      25 after the transfer or obligation was or could reasonably have
      26 been discovered by the claimant[.]" Cal. Civ. Code § 3439.09(a).
      27 The bankruptcy appellate panel in Ezra, 537 B.R. at 933,
      28 construed the discovery provision of California Civil Code §

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       1   3439.09(a) to mean "that the one year period . . . does not
       2   commence until the plaintiff has reason to discover the
       3   fraudulent nature of the transfer."    (Emphasis in original);
       4   accord Luria v. Wolff, 2016 WL 1449536,    *4_5 (C.D. Cal. 2016)

       5         The earliest conceivable date that the plaintiff in his
       6   capacity as the Chapter 7 trustee appointed in the Debtors'
       7   bankruptcy case could have discovered the fraudulent nature of
       8   the transfer of the Marysville Property is the Debtor's August
       9   11, 2017, petition date. That means under California Civil Code
      10   § 3439.09(a) the limitations period for the intentional
      11   fraudulent conveyance claim alleged under California Civil Code §
      12   3439.04 (a) (1) did not run until August 11, 2018. Plaintiff filed
      13   the complaint that initiated this adversary proceeding on June
      14   22, 2018. The complaint is therefore timely under state law.
                                                                            •20
      15         This adversary proceeding is also timely under § 546(a)
      16   Because plaintiff would have one year from the August 11, 2017,
      17   petition date to file an action to avoid the transfer of the
      18   Marysville Property under the California UFTA, the state law
      19
      20         Section 546(a) of the Bankruptcy Code states as follows:
                 20


      21        (a) An action or proceeding under section 544, 545,
                547, 548, or 553 of this title may not be commenced
      22        after the earlier of--
                    the later of--
      23              (A) 2 years after the entry of the order for
      24        relief; or
                          1 year after the appointment or election of
      25        the first trustee under section 702, 1104, 1163, 1202,
                or 1302 of this title if such appointment or such
      26        election occurs before the expiration of the period
      27        specified in subparagraph (A); or
                    the time the case is closed or dismissed.
      28   11 U.S.C. § 546(a)

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       1 limitations period had not run on the petition date. Many
       2 courts, "including the Ninth Circuit, have held that if the
       3 statute of limitations period governing a state-law fraudulent
       4 transfer action has not yet expired on the petition date (or the
       5 date the order for relief is entered, which is generally the same
       6 date), the trustee may bring an action under [Section] 544 (b),
       7 provided it is filed within the 546(a) limitations period." Rund
       8 v. Bank of Am. Corp. (In re EPD mv. Co., LLC), 523 B.R. 680, 686
       9 (9th Cir. BAP 2015). Plaintiff therefore had two years from the
      10 petition date, or until August 11, 2019, within which to file an
      11 avoidance action under the Bankruptcy Code. Filed on June 22,
      12 2018, the complaint that initiated this adversary proceeding is
      13 therefore timely under federal law.
      14 Conclusion
      15         For all the foregoing reasons, plaintiff's motion for
      16 partial summary judgment on the First and Second (and all other
      17 related) Claims for Relief which concern an intentional and
      18 constructive fraudulent transfer of the Hotel is DENIED.
      19 Plaintiff's second motion for partial summary judgment on the
      20 Fifth Claim for Relief which concerns a constructive fraudulent
      21 transfer of the Marysville Property is also DENIED AS MOOT.
      22         Plaintiff's second motion for partial summary judgment on
      23 the Fourth Claim for Relief which concerns an intentional
      24 fraudulent transfer of the Marysville Property, the Sixth Claim
      25 for Relief which concerns the cancellation of the sham deed of
      26 trust that encumbers the Marysville Property, and the Seventh
      27 Claim for Relief which concerns the recovery of the Marysville
      28 Property for the benefit of the Debtors' bankruptcy estate is
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       1       GRANTED and judgment on those claims for relief in the amended

       2 complaint will be entered for plaintiff and against defendants.
       3 The transfer of the ownership interest in the Marysville Property
       4 resulting from the Debtors' transfer of their interest in PCV to
       5 Simranjit is AVOIDED, the Debtors' PCV interest (and thence
       6 ownership of the Marysville Property) shall be RECOVERED by
       7 plaintiff from Simranjit for the benefit of the Debtors'
       8 bankruptcy estate. Plaintiff's recovery of the Debtors' interest
       9 in PCV shall be free and clear of any lien in favor of or claimed
      10   I   (or that may be claimed) by Thrive and any such lien on the
      11 Marysville Property is VOID, SET ASIDE, and CANCELLED.
      12            Within ten (10) days of the entry of this memorandum
      13 decision and any corresponding order and judgment, Simranjit
      14 shall execute any and all documents necessary to convey his 100
      15 interest in PCV and all of PCV's assets to plaintiff in his
      16 capacity as the Chapter 7 trustee appointed in the Debtors'
      17 bankruptcy estate.
      18            The continued hearing on October 8, 2019, at 9:30 a.m. will
      19 I be VACATED.
      20            A separate order and judgment will enter.
      21            Dated: October 8, 2019.
      22
      23
                                    UNITED STATES BANKRUPY JUDGE
      24
      25
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      27
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       1                             INSTRUCTIONS TO CLERK OF COURT
                                              SERVICE LIST
       2
                The Clerk of Court is instructed to send the attached
       3   document, via the BNC, to the following parties:
       4   Christopher D Hughes
           621 Capitol Mall #2500
       5   Sacramento CA 95814
       6   Gregory J. Hughes
           3450 Palmer St., #4-283
       7   Cameron Park CA 95682
       8
           W. Steven Shumway
       9   3400 Douglas Blvd., Suite 250
           Roseville CA 95661
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